I hereby certify that this instrument is a true and correct copy of
the original onCase      4:19-cv-00032-EKD
                file in my  office. Attest: Sandy Opacich, Document
                                                           Clerk      32 Filed 12/18/19 Page 1 of 5 Pageid#: 1540
U.S. District Court, Northern District of Ohio
By: /s/Robert Pitts
Deputy Clerk


                                                UNITED STATES JUDICIAL PANEL
                                                             on
                                                 MULTIDISTRICT LITIGATION


           IN RE: NATIONAL PRESCRIPTION OPIATE LITIGATION                                             MDL No. 2804


                                                            TRANSFER ORDER


                  Before the Panel:* Plaintiffs in 32 actions move under Panel Rule 7.1 to vacate the orders
           conditionally transferring their respective actions listed on Schedule A to MDL No. 2804. Various
           defendants1 oppose the motions.

                    After considering the arguments of counsel, we find these actions involve common questions of
           fact with the actions previously transferred to MDL No. 2804, and that transfer under 28 U.S.C. § 1407
           will serve the convenience of the parties and witnesses and promote the just and efficient conduct of the
           litigation. Moreover, transfer is warranted for the reasons set forth in our order directing centralization.
           In that order, we held that the Northern District of Ohio was an appropriate Section 1407 forum for
           actions sharing factual questions regarding the allegedly improper marketing and distribution of various
           prescription opiate medications into states, cities, and towns across the country. See In re Nat’l
           Prescription Opiate Litig., 290 F. Supp.3d 1375, 1378-79 (J.P.M.L. 2017).

                   Despite some variances among the actions before us, they share a factual core with the MDL
           actions: the manufacturer and distributor defendants’ alleged knowledge of and conduct regarding the
           diversion of these prescription opiates, as well as the manufacturers’ allegedly improper marketing of
           the drugs. See id. The actions therefore fall within the MDL’s ambit.




                *
                Judges Ellen Segal Huvelle and Nathaniel M. Gorton did not participate in the decision of this
            matter.
                 1
                  Amerisourcebergen Corp. and Amerisourcebergen Drug Corp.; Bellco Drug Corp.; Cardinal
            Health, Inc., Cardinal Health 200 LLC, Cardinal Health 414 LLC, Cardinal Health 6 Inc., Cardinal
            Health Technologies LLC; H.D. Smith, LLC and Smith Medical Partners, LLC; McKesson Corp.
            (distributor defendants); Actavis LLC, Actavis Pharma, Inc.; Allergan PLC, Allergan Finance, LLC;
            Barr Laboratories, Inc.; Cephalon, Inc.; Endo Health Solutions Inc., Endo Pharmaceuticals, Inc.;
            Janssen Pharmaceutica, Inc.; Janssen Pharmaceuticals Inc.; Johnson & Johnson; Mallinckrodt
            Enterprises LLC, Mallinckrodt plc, Mallinckrodt LLC, Ortho-McNeil-Jansenn Pharmaceuticals, Inc.;
            Par Pharmaceuticals, Inc., Par Pharmaceutical Companies, Inc.; Purdue Pharma L.P., Purdue
            Pharma, Inc., and The Purdue Frederick Company, Inc.; SpecGx LLC; Teva Pharmaceutical
            Industries Ltd.;. Teva Pharmaceuticals USA, Inc., and Watson Laboratories, Inc. (manufacturing
            defendants); Walgreens Boots Alliance, Inc., and Value Drug Co.
  Case 4:19-cv-00032-EKD Document 32 Filed 12/18/19 Page 2 of 5 Pageid#: 1541




                                                    -2-

        The plaintiffs opposing transfer in 31 actions argue principally that federal jurisdiction is lacking
over their cases. But opposition to transfer based on a jurisdictional challenge is insufficient to warrant
vacating conditional transfer orders covering otherwise factually related cases.2 Several plaintiffs also
argue that including their actions in this large MDL will cause them inconvenience and delay the progress
of their actions. Given the undisputed factual overlap with the MDL proceedings, transfer is justified
in order to facilitate the efficient conduct of the litigation as a whole. See In re Watson Fentanyl Patch
Prods. Liab. Litig., 883 F. Supp. 2d 1350, 1351-52 (J.P.M.L. 2012) (“[W]e look to the overall
convenience of the parties and witnesses, not just those of a single plaintiff or defendant in isolation.”).

        Plaintiff in the Southern District of West Virginia Tilley action, an action for personal injuries
brought by a minor who was born addicted to opiates, opposes transfer by arguing that his action is
unique. But we have transferred to the MDL several similar actions that involve infants suffering from
Neonatal Abstinence Syndrome (NAS), some of which were brought by counsel for plaintiff in Tilley.
Moreover, we denied a motion to create a separate MDL for NAS infants in December 2018 in favor of
transferring such cases to the MDL. See In re Infants Born Opioid-Dependent Prod. Liab. Litig., 350
F. Supp. 3d 1377, 1378–79 (J.P.M.L. 2018) (“The identity of [NAS infant] plaintiffs and their unique
damages – which plaintiffs and amici assert include the need for a medical monitoring trust that funds
prolonged, multidisciplinary care – do indeed differentiate these cases from those brought by the cities,
counties and states that comprise the bulk of MDL No. 2804. But these differences among claims and
requested relief, in our opinion, do not justify the creation of a new MDL.”). Plaintiff has not convinced
us to change this approach.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A are transferred to the
Northern District of Ohio and, with the consent of that court, assigned to the Honorable Dan A. Polster
for inclusion in the coordinated or consolidated pretrial proceedings.


                                        PANEL ON MULTIDISTRICT LITIGATION




                                                          Karen K. Caldwell
                                                                Chair

                                        R. David Proctor                    Catherine D. Perry
                                        Matthew F. Kennelly                 David C. Norton




    2
      See, e.g., In re Prudential Ins. Co. of Am. Sales Practices Litig., 170 F. Supp. 2d 1346, 1347-48
 (J.P.M.L. 2001).
 Case 4:19-cv-00032-EKD Document 32 Filed 12/18/19 Page 3 of 5 Pageid#: 1542




IN RE: NATIONAL PRESCRIPTION OPIATE LITIGATION                     MDL No. 2804


                                           SCHEDULE A

           Northern District of Illinois

     HESTRUP v. H.D. SMITH, LLC, ET AL., C.A. No. 1:19!05905

           District of Maryland

     HOWARD COUNTY, MARYLAND v. PURDUE PHARMA L.P., ET AL.,
         C.A. No. 1:19!02116

           District of Nevada

     CLARK COUNTY v. PURDUE PHARMA, L.P., ET AL., C.A. No. 2:19!01616

           District of New Jersey

     COUNTY OF OCEAN, NEW JERSEY v. PURDUE PHARMA L.P., ET AL.,
           C.A. No. 3:19!17138
     CITY OF TRENTON, NEW JERSEY v. PURDUE PHARMA L.P., ET AL.,
           C.A. No. 3:19!17155

           Eastern District of New York

     ALLEGANY COUNTY v. PURDUE PHARMA LP, ET AL., C.A. No. 2:19!04891

           Northern District of New York

     CITY OF AMSTERDAM v. PURDUE PHARMA L.P., ET AL., C.A. No. 1:19!00896

           Southern District of New York

     CITY OF POUGHKEEPSIE v. PURDUE PHARMA L.P., ET AL., C.A. No. 1:19!06800

           Eastern District of Oklahoma

     ATOKA COUNTY BOARD OF COMMISSIONERS v. PURDUE PHARMA, LP,
           ET AL., C.A. No. 6:19!00279
     HASKELL COUNTY BOARD OF COUNTY COMMISSIONERS v. PURDUE
           PHARMA, LP, ET AL., C.A. No. 6:19!00280
     LATIMER COUNTY BOARD OF COUNTY COMMISSIONERS v. PURDUE
           PHARMA, LP, ET AL., C.A. No. 6:19!00282
     CITY OF SEMINOLE v. PURDUE PHARMA, LP, ET AL., C.A. No. 6:19!00291
     OKFUSKEE COUNTY BOARD OF COUNTY COMMISSIONERS v. PURDUE
           PHARMA, LP, ET AL., C.A. No. 6:19!00300
Case 4:19-cv-00032-EKD Document 32 Filed 12/18/19 Page 4 of 5 Pageid#: 1543




                                             - A2 -


          Western District of Oklahoma

    BOARD OF COUNTY COMMISSIONERS OF GRADY COUNTY v. PURDUE
          PHARMA LP, ET AL., C.A. No. 5:19!00703
    BOARD OF COUNTY COMMISSIONERS OF CADDO COUNTY v. PURDUE
          PHARMA LP, ET AL., C.A. No. 5:19!00710
    CITY OF SHAWNEE v. PURDUE PHARMA LP, ET AL., C.A. No. 5:19!00711
    BOARD OF COUNTY COMMISSIONERS OF JEFFERSON COUNTY v. PURDUE
          PHARMA LP, ET AL., C.A. No. 5:19!00721
    CIMARRON COUNTY BOARD OF COUNTY COMMISSIONERS v. PURDUE
          PHARMA LP, ET AL., C.A. No. 5:19!00776
    CITY OF BETHANY v. PURDUE PHARMA LP, ET AL., C.A. No. 5:19!00804
    CITY OF ANADARKO v. PURDUE PHARMA LP, ET AL., C.A. No. 5:19!00815
    CITY OF FORT COBB v. PURDUE PHARMA LP, ET AL., C.A. No. 5:19!00816

          Eastern District of Pennsylvania

    MOSS v. ENDO PHARMACEUTICALS, INC., ET AL., C.A. No. 2:19!03611

          Eastern District of Tennessee

    TAKOMA REGIONAL HOSPITAL, ET AL. v. PURDUE PHARMA L.P., ET AL.,
        C.A. No. 2:19!00157

          Southern District of Texas

    COUNTY OF KLEBERG v. CVS HEALTH CORPORATION, C.A. No. 4:19!02815
    COUNTY OF JIM HOGG v. CVS HEALTH CORPORATION, C.A. No. 4:19!02816
    COUNTY OF WILLIAMSON v. WALGREENS BOOTS ALLIANCE, ET AL.,
        C.A. No. 4:19!03299

          Western District of Virginia

    PATRICK COUNTY, VIRGINIA v. PURDUE PHARMA, L.P., ET AL.,
          C.A. No. 4:19!00032
    SHENANDOAH COUNTY, VIRGINIA v. PURDUE PHARMA, L.P., ET AL.,
          C.A. No. 5:19!00056
    THE CITY OF WAYNESBORO, VIRGINIA v. PURDUE PHARMA, L.P., ET AL., C.A. No.
          5:19!00058
    CUMBERLAND COUNTY, VIRGINIA v. PURDUE PHARMA, L.P., ET AL.,
          C.A. No. 6:19!00054
    CITY OF RADFORD, VIRGINIA v. PURDUE PHARMA, L.P., ET AL.,
          C.A. No. 7:19!00525
Case 4:19-cv-00032-EKD Document 32 Filed 12/18/19 Page 5 of 5 Pageid#: 1544




                                          - A3 -

          Southern District of West Virginia

    TILLEY, ET AL. v. PURDUE PHARMA L.P., ET AL., C.A. No. 2:19!00566
